              Case:18-40343-EJC Doc#:97 Filed:09/13/18 Entered:09/13/18 13:04:02                                                            Page:1 of 4
 Fill in this information to identify your case:

 Debtor 1                 Paul Charles Lemke
                          First Name                        Middle Name                    Last Name

 Debtor 2                 Twiggy Yeiko Lemke
 (Spouse if, filing)     First Name                         Middle Name                    Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF GEORGIA

 Case number             18-40343-EJC
 (if known)
                                                                                                                                           Check if this is an
                                                                                                                                            amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                      4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

       You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)

       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the     Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from      Check only one box for each exemption.
                                                               Schedule A/B

      5 Grand Lake Circle Savannah, GA                                                                                           O.C.G.A. § 44-13-100(a)(6)
      31405 Chatham County
                                                                     $644,000.00                                  $7,000.00
      Value is Based on a November, 2017                                                 100% of fair market value, up to
      Appraisal by Morris Bank                                                               any applicable statutory limit
      Line from Schedule A/B: 1.1

      2015 Ford Escape 30953 miles                                                                                               O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.3
                                                                      $13,000.00                                     $70.82
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      2016 Ford Fusion 38221 miles                                                                                               O.C.G.A. § 44-13-100(a)(3)
      Line from Schedule A/B: 3.4
                                                                      $11,000.00                                  $2,381.48
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      Collectible Guns (2) - $50/each                                                                                            O.C.G.A. § 44-13-100(a)(6)
      Line from Schedule A/B: 8.1
                                                                          $100.00                                   $100.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit

      See Exhibit A                                                                                                              O.C.G.A. § 44-13-100(a)(4)
      Line from Schedule A/B: 9.1
                                                                      $11,386.00                                  $9,008.00
                                                                                         100% of fair market value, up to
                                                                                             any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                        page 1 of 3
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 Debtor 1    Paul Charles Lemke
 Debtor 2    Twiggy Yeiko Lemke                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     See Exhibit A                                                                                                                O.C.G.A. § 44-13-100(a)(5)
     Line from Schedule A/B: 9.1
                                                                     $11,386.00                                 $1,000.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     See Exhibit A                                                                                                                O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 9.1
                                                                     $11,386.00                                 $1,378.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     CZ Scorpion EVO                                                                                                              O.C.G.A. § 33-26-5
     Line from Schedule A/B: 10.3
                                                                         $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     AK-74 Rifle                                                                                                                  O.C.G.A. § 33-27-7
     Line from Schedule A/B: 10.4
                                                                         $100.00                                  $100.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Cash                                                                                                                         O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 16.1
                                                                          $50.00                                   $50.00
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Share ACCT Pentagon Fed                                                                                             O.C.G.A. § 44-13-100(a)(6)
     Credit Union #7772
                                                                          $99.45                                   $99.45
     Line from Schedule A/B: 17.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Bank of America #3548                                                                                              O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.2
                                                                         $258.02                                  $258.02
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: USAA (Rental Property                                                                                              O.C.G.A. § 44-13-100(a)(6)
     Account) #6451
                                                                         $222.24                                  $222.24
     Line from Schedule A/B: 17.3                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: USAA #711-8                                                                                                        O.C.G.A. § 44-13-100(a)(6)
     Son's Account
                                                                          $49.37                                   $49.37
     Line from Schedule A/B: 17.4                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: USAA #0061                                                                                                          O.C.G.A. § 44-13-100(a)(6)
     Joint with Daughter
                                                                          $47.26                                   $47.26
     Line from Schedule A/B: 17.5                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     Brokerage: USAA Acct #6314                                                                                                   O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.6
                                                                          $16.14                                   $16.14
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    Paul Charles Lemke
 Debtor 2    Twiggy Yeiko Lemke                                                                          Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking: USAA Account #774-0                                                                                                O.C.G.A. § 44-13-100(a)(6)
     Line from Schedule A/B: 17.7
                                                                          $19.27                                   $19.27
                                                                                       100% of fair market value, up to
                                                                                           any applicable statutory limit

     PolyCase Holdings, LLC (Closed)                                                                                              O.C.G.A. § 44-13-100(a)(6)
     Owns 3 laptops and $197.45 in bank
                                                                      $1,697.45                                 $1,697.45
     account                                                                           100% of fair market value, up to
     100%                                                                                  any applicable statutory limit
     Line from Schedule A/B: 19.2

     Paul Lemke (Account Owner) FBO                                                                                               O.C.G.A. § 44-13-100(a)(6)
     Son
                                                                         $840.00                                  $840.00
     Coverdell Educational Savings                                                     100% of fair market value, up to
     Account with USAA                                                                     any applicable statutory limit
     Not Property of the Estate
     ($49,865.15)
     Amount Deposited over the last year:
     $840
     Line from Schedule A/B: 24.1

     Paul Lemke (Account Owner) FBO                                                                                               O.C.G.A. § 44-13-100(a)(6)
     Son #0002
                                                                         $600.00                                  $600.00
     Individual 529 Plan with USAA                                                     100% of fair market value, up to
     Not Property of the Estate                                                            any applicable statutory limit
     ($16,526.19)
     Amount Deposited over the last year:
     $600
     Line from Schedule A/B: 24.2

     Federal & State: 2017 Tax Refund                                                                                             O.C.G.A. § 44-13-100(a)(6)
     (estimate)
                                                                     $10,000.00                               $10,000.00
     Line from Schedule A/B: 28.1                                                      100% of fair market value, up to
                                                                                           any applicable statutory limit

     AAFMAA Whole Life Insurance                                                                                                  O.C.G.A. § 44-13-100(a)(9)
     Policy
                                                                      $3,310.00                                 $3,310.00
     Beneficiary: Debtor 2                                                             100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit

     2010 Appl iMac 27", 2013 HP 8600                                                                                             O.C.G.A. § 44-13-100(a)(7)
     Deskjet Printer
                                                                      $3,500.00                                 $3,000.00
     2x Dell Outlet Latitude 5480 Laptop                                               100% of fair market value, up to
     Windows 10 Pro $1,885.34                                                              any applicable statutory limit
     1x Dell Outlet Latitude 7480 Laptop
     Windows 10 Pro $1,369.92
     See also Exhibit A
     Line from Schedule A/B: 39.1


 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
      Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
        No
        Yes



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION

In re:                                         §
                                               §       Chapter 7
PAUL CHARLES LEMKE,                            §       Case No. 18-40343-EJC
TWIGGY YEIKO LEMKE,                            §
                                               §
         Debtor.                               §

                                CERTIFICATE OF SERVICE

         I hereby certify that a copy of the forgoing Amended Schedules A/B and Amended

Schedule C were served to all of the interested parties listed below and all parties receiving

notice by electronic delivery through the Court’s ECF noticing filing system on this date:

         United States Trustee
         Johnson Square Business Center
         2 E. Bryan St., Ste. 725
         Savannah, GA 31401

          Wendy Anne Owens, Trustee
          Law Office of Wendy A. Owens, PC
          P.O. Box 8846
          Savannah, GA 31412

          And

          All Creditors and Parties in Interest receiving notice through CM/ECF.

         This 13th day of September, 2018.

                                                    McCallar Law Firm

                                                    /s/ C. James McCallar, Jr.
                                                    C. James McCallar, Jr.
                                                    GA. Bar # 481400
                                                    Attorney for Debtor

McCallar Law Firm
Post Office Box 9026
Savannah, Georgia 31412
Tel: (912) 234-1215
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